Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.180 Page 1 of 15
         Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.181 Page 2 of 15
Davis Hospital and Medical Center
 - - - - - - - - - - - - - Patient Information-------------
 Patient Name: ABREU, ANGEL                                 Sex: Male
 Home Address:                                              DOB: 02/21/96
                                                            Age: 25 Years
 Home Phone:                    Cell Phone:                 Religion:
 Employer Name:                                             SSN:
 Employer Phone:                                            Race:

 - - - - - - - - - - - - Guarantor Information
 Guarantor Name:                                            Sex:
 Patient's Reltn:                                           DOB:
 Billing Address:                                           Age:
                                                            Religion:
 Billing Phone:                                             SSN:
 Employer Name:                                             Marital Status:
 Employer Phone:
 - - - - - - - - - - - - - Contact Information - - - - - - - - - - - - -
 Emergency Contact                                           Next of Kin
 Contact Name:                                               Contact Name:
 Patient's Reltn:                                            Patient's Reltn:
 Sex:                                                        Sex:
 Home Phone:                                                 Home Phone:
 - - - - - - - - - - - - - Primary Insurance - - - - - - - - - - - - -
 Subscriber Name:                                            Insurance Name:
 Patient's Reltn:                                            Claim Address:
 Sex:
 DOB:                                                        Insurance Phone:
 Age:                                                        Policy Number:
 Employer Name:                                              Group Number:
 Employer Phone:                                             Authorization Number:
 Financial Class:                                            Authorization Phone:
 Group Name:                                                 Authorization Contact:
 - - - - - - - - - - - - Secondary Insurance - - - - - - - - - - - -
 Subscriber Name:                                            Insurance Name:
 Patient's Reltn:                                            Claim Address:
 Sex:
 DOB:                                                        Insurance Phone:
 Age:                                                        Policy Number:
 Employer Name:                                              Group Number:
 Employer Phone:                                             Authorization Number:
 Financial Class:                                            Authorization Phone:
 Group Name:                                                 Authorization Contact:
 - - - - - - - - - - - - Encounter Information - - - - - - - - - - - - -
 Reg Dt/Tm:         09/26/2020 20:50     Patient Type: Emergency           Admit Type:
 Est Dt of Arrival:                      Medical Service: Emergency ServicesAdmit Source:
 lnpt Adm Dt/Tm:                         Location: OHM ED                  Advance Directive:
 Disch Dt/Tm:       09/26/2021 :20 MDT   Room/Bed: ED21 / A                 Reg Clerk: Farnworth, ED Tech, Mariah
 Observation Dt/Tm: 09/26/2020 20:51     Isolation:                        Admit Physician:
 VIP Indicator:                          Disease Alert:                    Attend Physician:
 Admit Reason: Trauma one                                                   PCP:


 ABREU, ANGEL                                            Male/ 25 Years
 MRN: 1202347827                                         FIN: DHM-18000351106

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                                                         II I II II II Ill I IIIIIIII Ill I 111111111111111
  Printed By: Parkin, Giulianna on 11/12/2021 13:36
  Registration last updated by: Contributor_system, MOUNTAIN_ADT on 09/30/2020 10:46
                                                                                                              Page 1 of 14
           Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.182 Page 3 of 15


Davis Hospital and Medical Center
1600 West Antelope Drive
Layton, UT 84041-1142
Patient Name: ABREU, ANGEL
MRN:          1202347827                                                     Admit Date:         9/26/2020
Encounter:    DH M-18000351106                                               Discharge Date:     9/26/2020
Age:          25 years         Gender:                 Male                  Attending MD:
DOB:          2/21/1996

                                                           Consultation Notes

Document Type:                                                            Surgery Consultation
Service Date/Time:                                                        9/26/2020 20:51 MDT
Result Status:                                                            Auth (Verified)
Document Subject:                                                         Consult Note
Sign Information:                                                         Baker,MD,Scott L (9/26/2020 20:54 MDT)

Chief Complaint                                                                                  Allergies
Found in jail with stabwound to left abdomen. In police custody. Poilce at bedside. Pt           No Known Allergies
remains in handcuffs.
                                                                                                 Medication List
Referring Physician                                                                               lnoatient
Level 1 trauma                                                                                      No active inpatient medications
                                                                                                  Home
Reason for Consultation
                                                                                                    No active home medications
Abdominal stab wound
                                                                                                 Immunizations
History of Present Illness
                                                                                                 tetanus/diphth/pertuss (Tdap) adult/adol: 0.5
Male was found in his jail cell. He barricaded himself in. He is allergic to drugs in his jail
                                                                                                 ml
cell. Did some self-inflicted stab wound to his abdomen. He was then brought to the
emergency room. Did have a decreased level of consciousness. Seen initially in the
trauma bay. Airway was intact breath sounds were equal bilaterally. Blood pressure and
heart rate were stable. Did have evidence of stab wound in the left lower abdomen. Did           Problem List/Past Medical History
not appear to penetrate the abdominal wall.                                                        No chronic problems
                                                                                                   Historical
Review of Systems
                                                                                                     No historical problems
Constitutional: No fevers, chills, sweats, weight loss
Eye: No visual problems                                                                          Family History
HENT: No ear pain, nasal congestion, sore throat                                                 After complete review of the patient's family
Respiratory: No shortness of breath, cough                                                       history, there are no relevant diseases or
Cardiovascular: No Chest pain or palpitations                                                    illnesses.
Gastrointestinal: Abdominal pain, nausea, vomiting, diarrhea
Genitourinary: No hematuria, no dysuria
                                                                                                 Social History
Hema/Lymph: Negative for bruising tendency, swollen lymph glands
                                                                                                   Tobacco
Endocrine: Negative for excessive thirst, no heat or cold intolerance
                                                                                                     Never smoker
Musculoskeletal: No back pain, joint pain, muscle pain
lntegumentary: No rash, pruritus, abrasions, no skin ulcers                                      Diagnostics
Neurologic: No focal weakness, no seizures or tremors                                            XR Chest 1 View Frontal
Psychiatric: Normal memory, normal mood
                                                                                                 09/26/20 19:55:51
                                                                                                 IMPRESSION:
Physical Exam
  Vitals & Measurements                                                                          No radiographic evidence for acute thoracic
WT: 98.7 kg (Measured) WT: 98.70 kg (Dosing)                                                     disease.
General: Well nourished, no acute distress                                                       Signed By: Walker, DO, Kyle R
Eye: PERRL, normal conjunctiva, sclerae non-icteric
HENT: Normocephalic, normal hearing, moist oral mucosa, no sinus tenderness                      **************************************************
Neck: Supple, non-tender, no lymphadenopathy                                                     CT Abdomen and Pelvis w/ Contrast



Report! □:    251977153                                        Page 2 of 14                 Print Date/Time:     11/12/202113:36 CST
                     Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.183 Page 4 of 15
Patient Name:            ABREU, ANGEL
MRN:                     1202347827                                                Admit Date:            9/26/2020
Encounter:               DHM-18000351106                                           Discharge Date:        9/26/2020


L· · - · - · - - - - -
                     Consultation Notes
                       ---------.-11
Lungs: Clear to auscultation, no respiratory distress, no wheeze, rales, or rhonchi
CV: Normal rate, regular rhythm                                                                     09/26/20 20:00:00
Abdomen: Soft, nontender stab wound to the left lower abdomen. Appears to be                        IMPRESSION:
approximately 3 cm in length. Subcutaneous nature does not appear to penetrate through              1. Skin and subcutaneous laceration in the left
the anterior rectus fascia, non-distended, normal bowel sounds,                                     lower in the supraumbilical fat of the left
Musculoskeletal: No muscular tenderness, no joint pain                                              abdominal quadrant. No evidence for
Skin: Warm, dry, normal turgor                                                                      extension into the peritoneal cavity.
Lymphatic No cervical or inguinal adenopathy                                                        2. No evidence for an acute abdominal or
Neurologic: Alert and oriented X3, no motor deficit                                                 pelvic organ injury.
Psychiatric: Cooperative, appropriate mood and affect                                               3. Ring shaped metallic foreign body in the
                                                                                                    rectum with additional radiopaque tubing
                                                                                                    extending proximally towards the anus
Assessment/Plan
                                                                                                    consistent with a retained rectal foreign body.
1. Laceration of abdominal wall
   Laceration to the anterior abdominal wall. This is then closed loosely with staples. Does
  not appear to be contaminated.
                                                                                             Findings discussed by telephone with Dr.
2. Rectal foreign body
                                                                                             Baker at 2036 hours on 9/26/2020.
   Evidence of rectal foreign body appears to be a ring this was confirmed by the patient as
                                                                                             Signed By: Walker, DO, Kyle R
  well as some string of rubber tubing attached. He felt that this was his phone numbers
  wrapped in Saran wrap that he put in his rectum as well. Recommend passing on its own.
3. Substance abuse
Diagnosis Coding Information
S31.119A Laceration without foreign body of abdominal wall, unspecified quadrant
without penetration into peritoneal cavity, initial encounter
T18.5XXA Foreign body in anus and rectum, initial encounter
F19.10 Other psychoactive substance abuse, uncomplicated




Electronically Signed on 09/26/20 08:54 PM

Baker, MD, Scott L


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Document Type:                                                               ED Note Physician
Service Date/Time:                                                           9/26/2020 21 :40 MDT
Result Status:                                                               Auth (Verified)
Document Subject:                                                            ED Note
Sign Information:                                                            Grow,MD,Robert W (9/26/2020 21 :40 MDT)

 Basic Information                                                                                  Problem List/Past Medical History
                                                                                                      No chronic problems
   Chief Complaint
                                                                                                      Historical
 Found in jail with stabwound to left abdomen. In police custody. Poilce at bedside. Pt
                                                                                                        No historical problems
 remains in handcuffs.
   ED Assigned Provider/Time                                                                        Medications
 Time Seen:                                                                                          Inpatient
 Grow, MD, Robert W / 09/26/2020 19:54                                                                 No active inpatient medications
                                                                                                     Home
                                                                                                       No active home medications




 ReportlD: 251977153                                          Page 3 of 14                   Print Date/Time:        11/12/202113:36 CST
           Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.184 Page 5 of 15
Patient Name:     ABREU, ANGEL
MRN:              1202347827                                                   Admit Date:           9/26/2020
Encounter:        DHM-18000351106                                              Discharge Date:       9/26/2020

                                                   Emergency Documentation

History of Present Illness                                                                     Allergies
Patient is a long-term resident at the local jail. Apparently today he barricaded himself in   No Known Allergies
his room. Once officers gained access he was found to be less responsive with potentially
                                                                                               Social History
a piece of candy stuck in his throat. He had lacerated his abdomen. He had been found
earlier today to be in possession of both Suboxone and methamphetamines. No other                Tobacco
injuries were identified. The patient has been hemodynamically stable.                             Never smoker

Review of Systems                                                                              Lab Results
Constitutional: [No fevers, chills, sweats, weight loss]                                       CBC and              LATEST RESULTS
Eye: [No visual problems]                                                                      Differential
ENMT: [No ear pain, nasal congestion, sore throat]                                             WBC                  09/26/20 10.7 High
Respiratory: [No shortness of breath, cough]                                                                        20:00
Cardiovascular: [No Chest pain, palpitations, syncope, swelling in legs, dyspnea on            RBC                  00/26/20 4.38 Low
exertion]                                                                                                           20:00
Gastrointestinal: [Has abdominal pain, no nausea, no vomiting, no diarrhea, no difficulty      Hgb                  09/2f:3/20 13.9 Low
swallowing]                                                                                                         :moo
Genitourinary: [No hematuria, no dysuria, no hesitancy, no frequency, no incontinence]         Hct                  09/2(3/20    40 .1
Hema/Lymph: [Negative for bruising tendency, swollen lymph glands]                                                  20:00
Endocrine: [Negative for excessive thirst, glucose normal, no heat or cold intolerance]        MCH                  09/213/20    31.6
Musculoskeletal: [No back pain, neck pain, joint pain, muscle pain, decreased range of                              20:00
motion]                                                                                        MCHC                 00/2(3/20    34.6
lntegumentary: [No rash, pruritus, abrasions, no skin ulcers]                                                       2.0:00
Neurologic: [No focal weakness, no paresthesia, no headaches, numbness or tingling, no         ROW                  0n/26/20     13.0
seizures or tremors]                                                                                                20:00
Psychiatric: [Normal memory, normal mood]                                                      MCV                  09/2(3/20    91.5
Skin: No rashes, sores, or lesions                                                                                  20:00
                                                                                               Platelets            09/2(3/20    288
All other systems reviewed are negative or normal.                                                                  2000
                                                                                               MPV                  09/2G/20 6.7 Low
Physical Exam                                                                                                       20:00
                                                                                               Neutro Auto          00/?G/20     56.5
  Vitals & Measurements
                                                                                                                    20:00
T: 36.8 °C BP: 115/74 Sp02: 97%
                                                                                               Lymph Auto           09/2G/20     30.7
WT: 98. 7 kg (Measured) WT: 98. 70 kg (Dosing)
                                                                                                                    20:00
CONSTITUTIONAL: _Patient appears somewhat sleepy but he does open his eyes and
                                                                                               Mono Auto            09/26/20      12.3 High
answers questions appropriately
                                                                                                                    2000
SKIN: _warm, dry, no jaundice, hives or petechiae
                                                                                               Eos, Auto            OD/2fl/20    0.2
EYES: _pupils are equally round, extraocular movements intact without nystagmus, clear
                                                                                                                    20:00
conjunctiva, non-icteric sclera
                                                                                               Basophil Auto        0U/?G/20     0.3
HENT: _normocephalic, atraumatic, moist mucus membranes, oropharynx clear without
exudates, TMs and mastoids normal
                                                                                                                    ?O   nn
                                                                                               Neutro Absolute      0\)/',)()f;i() 6.0
NECK: _Nontender and supple with no nuchal rigidity, no lymphadenopathy, full range of                              ;,n·oo
motion                                                                                                              uq;;c;;10 3.3
                                                                                               Lymph Absolute
PULMONARY: _clear to auscultation without wheezes, rhonchi, or rales, normal excursion,                             20(,0
no accessory muscle use and no stridor
                                                                                               Mono Absolute        09/26/20 1.3 High
CARDIOVASCULAR: _Mild tachycardia, regular rhythm. No appreciated murmurs. Strong
                                                                                                                    20:00
radial pulses with intact distal perfusion
                                                                                               Slide Review         09/213/2.0 Auto
GASTROINTESTINAL: _There is a 3 cm linear laceration that somewhat gaping with
                                                                                                                    20:00
exposure of underlying fat in the mid left abdomen. No other penetrating wounds are
identified. Palpation of the wound feels deep to the peritoneum but not through the
peritoneal fascia. Abdomen is soft, non-distended, no palpable masses, no rebound or
guarding, bowel sounds normal
                                                                                               Coagulation      LATEST RESULTS
GENITOURINARY: _No costovertebral angle tenderness
                                                                                               Prothrombin Time 00/26/20 13.8
LYMPHATICS: _no edema in lower extremities, no lymphadenopathy
                                                                                                                20:00
MUSCULOSKELETAL: _Extremities are nontender to palpation and have no gross
                                                                                               INR              09/26/20 1.2 High
deformity, no edema, redness, or swelling
                                                                                                                    20:00


ReportlD: 251977153                                         Page 4 of 14                Print Date/Time:       11/12/202113:36 CST
           Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.185 Page 6 of 15
Patient Name:      ABREU, ANGEL
MRN:               1202347827                                                     Admit Date:              9/26/2020
Encounter:         DHM-18000351106                                                Discharge Date:          9/26/2020

                                                     Emergency Documentation
                                                                                                                                                    J
NEUROLOGIC: The patient is alert and oriented to person, place, and time with normal                Partial               09/26/20 31. 7
speech. No motor deficits are noted, with muscle strength 5/5 bilaterally. Sensation is intact Thromboplastin             20:00
bilaterally. Reflexes are 2+ bilaterally. Cranial nerves are intact. Cerebellar function is intact. Time
Memory is normal and thought process is intact. No gait abnormalities are appreciated.
PSYCHIATRIC: _Challenging to assess but seems at baseline
Procedure
                                                                                                    · Routine              LATEST RESULTS
No qualifying data available.
                                                                                                      Chemistry
Medical Decision Making                                                                               Sodium Level         09/26/20     141
In more discussion with the officers, they tell me that they did find some substances in male                              20:00
that he had received although he did not have access to that they feel that it is likely that he    Potassium Level        09/26/20     3.9
already had some in his cell. However the patient even after very short timeframe of being                                 20:00
here he seemed completely awake and appropriate, no change in mental status, nothing to             Chloride Level         09/26/20     107
suggest ongoing ingestion or intoxication. CT scan of the abdomen demonstrates that the                                    20:00
laceration does not penetrate the peritoneal cavity which is consistent with our exam. He is        CO2                    09/2(3/20    26
found to have a foreign body in his rectum felt to be a reading. The officers are aware of                                 20:00
this and will monitor the patient's stool. I do not think there is need to try and extricate this    BUN                   09/26/20     11
at this point. Dr. Baker has evaluated the patient here in the emergency department as he                                  20:00
did respond to the trauma 1 activation. He has cleansed and closed the laceration in the             Creatinine Level      09/26/20     1.0
abdominal wall. Continued wound management has been discussed. The patient will be                                         2000
discharged back to the jail infirmary for further management and monitoring. He has been             BUN/Creal Ratio       09/2G/20     11.0
hemodynamically stable here. There are no other identifiable injuries at this point.                                       20:00
                                                                                                     eGFRAA                09/21:J/20   109
Diagnosis/Assessment/Plan
                                                                                                                           20:00
1. Laceration of abdominal wall
                                                                                                     eGFR Non-AA           09/'?G/20 90
2. Rectal foreign body
                                                                                                                           20:00
3. Substance abuse                                                                                   Glucose Level         09/:✓ 6/20 73
Orders:
                                                                                                                           20:00
Discharge Patient
                                                                                                     Calcium Level         00/2G/2G     9,9
Insert Peripheral IV with Saline lock
                                                                                                                           20:00
Lactic Acid, Plasma (Venous)                                                                         Anion Gap             09/26/20     8
Urine DOA                                                                                                                  20:00
Diagnosis Coding Information                                                                         Alk Phos              09/26/20     47
S31.119A Laceration without foreign body of abdominal wall, unspecified quadrant                                           20:00
without penetration into peritoneal cavity, initial encounter                                        Bilirubin Total       09/26/20     0.6
T18.5XXA Foreign body in anus and rectum, initial encounter                                                                20:00
F19.10 Other psychoactive substance abuse, uncomplicated                                             AST                   09/26/20     35
                                                                                                                           20:00
                                                                                                     ALT                   09/2G/20     29
                                                                                                                           20:00
                                                                                                     Protein Total         09/2G/20     7.4
                                                                                                                           20:00
                                                                                                     Albumin Level         09/2.G/20    4.90 High
                                                                                                                           20:00
                                                                                                     Globulin              09/26/20     2.5
                                                                                                                           20:00
                                                                                                     A/G Ratio             09/2G/20     2.0
                                                                                                                           20:00
                                                                                                     Lactic Acid,          09/26/20 2.2 High
                                                                                                     Plasma (Venous)       20:00




                                                                                                     Transfusion      LATEST RESULTS
                                                                                                     Medicine Testing



ReportlD: 251977153                                            Page 5 of 14                 Print Date/Time:           11/12/2021 13:36 CST
         Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.186 Page 7 of 15
Patient Name:   ABREU, ANGEL
MRN:            1202347827                                       Admit Date:       9/26/2020
Encounter:      DHM-18000351106                                  Discharge Date:   9/26/2020

                                             Emergency Documentation
                                                            ,-----------------------'
                                                                             Pulse,bpm             09/20/20 94 bpm
                                                                                                   21:11:l




                                                                             Diagnostic Results
                                                                             XR Chest 1 View Frontal

                                                                             09/26/20 19:55:51
                                                                             IMPRESSION:

                                                                             No radiographic evidence for acute thoracic
                                                                             disease.
                                                                             Signed By: Walker, DO, Kyle R

                                                                             **************************************************
                                                                             CT Abdomen and Pelvis w/ Contrast

                                                                             09/26/20 20:00:00
                                                                             IMPRESSION:
                                                                             1. Skin and subcutaneous laceration in the left
                                                                             lower in the supraumbilical fat of the left
                                                                             abdominal quadrant. No evidence for
                                                                             extension into the peritoneal cavity.
                                                                             2. No evidence for an acute abdominal or
                                                                             pelvic organ injury.
                                                                             3. Ring shaped metallic foreign body in the
                                                                             rectum with additional radiopaque tubing
                                                                             extending proximally towards the anus
                                                                             consistent with a retained rectal foreign body.


                                                                             Findings discussed by telephone with Dr.
                                                                             Baker at 2036 hours on 9/26/2020.
                                                                             Signed By: Walker, DO, Kyle R



                                                                             Patient Education and Follow Up
                                                                             Documented Patient Education
                                                                             LACERATION, Trunk - 09/26 20:38

                                                                             Follow Up Appointments
                                                                             Staple removal in 10 days. within 1 to 2 days



Electronically Signed on 09/26/20 09:40 PM

Grow, MD, Robert W




ReportlD: 251977153                               Page 6 of 14          Print Date/Time:     11/12/202113:36 CST
         Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.187 Page 8 of 15
Patient Name:   ABREU, ANGEL
MRN:            1202347827                                         Admit Date:       9/26/2020
Encounter:      DHM-18000351106                                    Discharge Date:   9/26/2020

                                            Emergency Documentation
Document Type:                                               ED Notes
Service Date/Time:                                          9/26/2020 21:19 MDT
Result Status:                                              Auth (Verified)
Document Subject:                                           Disposition Documentation
Sign Information:                                           Dickerson,RN ICU Float,Melissa (9/26/2020 21:19 MDT)

                            Disposition Documentation Entered On: 9/26/2020 21 :20 MDT
                       Performed o'n: 9/26/2020 21 :19 MDT by Dickerson, RN ICU Float, Melissa




Disposition Documentation
Patient Condition-Disposition : Satisfactory
ED Procedural Sedation : No
ED Restraint/Seclusion : No
ED Vital Sign documentation : Open vital signs documentation
ED Assistance Summary Documentation : Open assistance summary documentation
ED Discharged to : Law enforcement detention
ED IV Supply Capture : Document
ED Discharge Documentation : Open Discharge Documentation
                                                                  Dickerson, RN ICU Float,    Melissa - 9/26/2020 21:19 MDT
Assistance Summary
ED Assistance Summary Not Applicable: NIA
                                                                  Dickerson, RN ICU Float,    Melissa -9/26/2020 21:19 MDT
Vitals/HUWt
Numeric Pain Scale : O = No pain
ED Traumatic Injury: Yes
Systolic/Diastolic BP: 74 mmHg
Systolic/Diastolic BP: 115 mmHg
Temperature (Route Not Specified): 36.8 Deg C
Pulse : 94 bpm
Respiration Rate : 15
02 Sat: 97 %
                                                                  Dickerson, RN ICU Float,    Melissa - 9/26/2020 21:19 MDT
Discharge
Discharged to care of: Correctional officer
Mode of Discharge : Wheelchair
Discharge Transportation : Other: police vehicle
ED Rx to Patient : No
Individuals Taught: Patient
Home Caregiver Present for Session : NIA
Teaching Method - ED : Written/printout, Explanation
Barriers to Learning : None evident
Discharge comments ED: instructions given to correctional officers and patient.
                                                                   Dickerson, RN ICU Float,   Melissa - 9/26/2020 21:19 MDT
ED IV Supply Capture
ED NS 0.9% 1000ML: 1
ED Discharge Documentation : Open Discharge Documentation
                                                                   Dickerson, RN ICU Float,   Melissa - 9/26/2020 21 :19 MDT


ReportlD: 251977153                                 Page 7 of 14           Print Date/Time:    11/12/2021 13:36 CST
         Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.188 Page 9 of 15
Patient Name:   ABREU, ANGEL
MRN:            1202347827                                          Admit Date:        9/26/2020
Encounter:      DHM-18000351106                                     Discharge Date:    9/26/2020

                                               Transfusion Medicine

Transfusion Medicine Testing

  Collected Date 9/26/2020
  Collected Time 21 :19 MDT
   Procedure
Pulse,bpm             94




                 Collected Date 9/26/2020
                 Collected Time 20:00 MDT
            Procedure                       Units              Reference Range
Sodium Level                       141 •1   mmol/L             [132-146]
Potassium Level                     3.9·1   mmol/L             [3.5-5.5]
Chloride Level                     107 •1   mmol/L             [99-109]
CO2                                 26 •1   mmol/L             [22-31]
BUN                                 11 •1   mg/dL              [9-23]
Creatinine Level                    1.0 • 1 mg/dL              [0.5-1.1]
BUN/Creat Ratio                    11.0 •1
eGFRAA                            109 i1 •1 ml/min/1.73m2      [90-120]
eGFR Non-AA                         90· 1   ml/min/1.73m2      [90-120]
Glucose Level                       73·1    mg/dL              [60-11 O]
Calcium Level                       9.9·1   mg/dL              [8.7-10.4]
Anion Gap                            8 •1   mmol/L             [2-16]
Alk Phos                            47'1    U/L                [30-224]
Bilirubin Total                     0.6 •1  mg/dL              [0.3-1.5]
AST                                 35·1    U/L                [10-42]
ALT                                 29·1    U/L                [10-49]
Protein Total                       7.4 ·1  g/dL               [5.7-8.2]
Albumin Level                     4,90H• 1 g/dL                [3.20-4.80]
Globulin                            2.5 •1  g/dL               [1.0-4.5]
A/G Ratio                           2.0·1                      [1.0-999.0]
Lactic Acid,Plasma (Venous)        2.2 H'1  mmol/L             [0.5-2.0]
Interpretive Data
i1:      eGFR AA
       A. A GFR greater than 90 ml/min is considered normal,
       but patients with proteinuria may have kidney damage with
        a normal GFR. Please refer to the following website for
       staging of kidney disease: http://utahkidney.com/EducationResources/ChronicKidneyDisease
       B. This GFR has been calculated assuming the patient is not African American; however, if the patient is African
       American, please multiply this result by 1.21.
        C. The GFR may not be accurate for pregnant women or for patients with rapidly changing creatinines or on dialysis.
         Caution should be used in applying this GFR to patients with malnutrition and on certain medications,




ReportlD: 251977153                                Page 8 of 14              Print Date/Time:   11/12/202113:36 CST
         Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.189 Page 10 of 15
Patient Name:   ABREU, ANGEL
MRN:            1202347827                                             Admit Date:         9/26/2020
Encounter:      DHM-18000351106                                        Discharge Date:     9/26/2020

                                                           Chemistry

Performing Locations
*1:     This test was performed at:
        DHM Laboratory, 1600 West Antelope Drive, Layton, UT, 84041-       , US


                                                             CMP

                 Collected Date 9/26/2020     9/26/2020
                 Collected Time 20:33 MDT    20:00 MDT
           Procedure                                         Units                Reference Range
BUN/Great Ratio                                 11.0 •1
eGFR AA                                         109i1 *1     ml/min/1.73m2        [90-120]
eGFR Non-AA                                      90·1        ml/min/1. 73m2       [90-120]
Anion Gap                                         8 *1       mmol/L               [2-16]
Alk Phos                                         47*1        U/L                  [30-224]
Bilirubin Total                                  0.6*1       mg/dL                [0.3-1.5]
Protein Total                                    7.4 *1      g/dL                 [5.7-8.2]
Albumin Level                                  4.9QH'i       g/dL                 [3.20-4.80]
Globulin                                        2.5*1        g/dL                 [1.0-4.5]
A/G Ratio                                       2.0·1                             [1.0-999.0]
Lactic Acid,Plasma (Venous)                     2.2 H'1      mmol/L               [0.5-2.0]
Weight Measured                    98.7                      kg                   [50-110]
Sodium Level                                     141 •1      mmol/L               [132-146]
Chloride Level                                   107'1       mmol/L               [99-109]
CO2                                               26 •1      mmol/L               [22-31]
BUN                                               11 •1      mg/dL                [9-23]
Creatinine Level                                 1.0 •1      mg/dL                [0.5-1.1]
Glucose Level                                     73*1       mg/dL                [60-110]
Calcium Level                                    9.9*1       mg/dL                 [8.7-10.4]
Potassium Level                                  3.9*1       mmol/L                [3.5-5.5]
AST                                              35*1        U/L                   [10-42]
ALT                                              29*1        U/L                   [10-49]
Interpretive Data
i1:      eGFR AA
        A. A GFR greater than 90 ml/min is considered normal,
        but patients with proteinuria may have kidney damage with
         a normal GFR. Please refer to the following website for
        staging of kidney disease: http://utahkidney.com/EducationResources/ChronicKidneyDisease
        B. This GFR has been calculated assuming the patient is not African American; however, if the patient is African
        American, please multiply this result by 1.21.
         C. The GFR may not be accurate for pregnant women or for patients with rapidly changing creatinines or on dialysis.
          Caution should be used in applying this GFR to patients with malnutrition and on certain medications.
Performing Locations
*1:     This test was performed at:
        DHM Laboratory, 1600 West Antelope Drive, Layton, UT, 84041-          , US




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          Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.190 Page 11 of 15
Patient Name:     ABREU, ANGEL
MRN:              1202347827                                                 Admit Date:          9/26/2020
Encounter:        DHM-18000351106                                            Discharge Date:      9/26/2020




                Collected Date 9/26/2020
                Collected Time 20:00 MDT
           Procedure                       Units              Reference Range
Prothrombin Time                  13.8 •1  seconds            [9.6-14.7]
INR                             1.2 H 12'1                    [0.9-1.1]
Partial Thromboplastin Time      31.7 i3'1 seconds            [23.1-38.3]
Interpretive Data
i2:      INR
         Therapeutic Range for Low Dose is 2.0-3.0 INR
         Therapeutic Range for Moderate Dose is 2.5-3.5 INR
i3:      Partial Thromboplastin Time
         Theraputic range for individuals on anticoagulent therapy is 61 - 90 seconds.
Performing Locations
*1:     This test was performed at:
        OHM Laboratory, 1600 West Antelope Drive, Layton, UT, 84041-               , US




CBC and Differential

    Collected Date 9/26/2020
    Collected Time 20:00 MDT
    Procedure                   Units               Reference Range
WBC                  10.7 H' 1 x10A3/mcl            [3.6-10,6]
RBC                  4.38 L' 1  x1QA6/mcl           [4.40-5, 80]
Hgb                  13,9  L' 1 g/dl                [14.0-18.0]
Hct                   40.1 ' 1  %                   [38.0-52,0]
MCH                   31,6 •1   pg                  [26.0-33.0]
MCHC                  34,6'1    g/dl                [32,0-36.0]
RDW                   13,0 •1   %                   [12.0-16.0]
MCV                   91.5 •1   fl                  [80.0-97.0]
Platelets             288 •1    x10A3/mcl           [140-440]
MPV                   6.7 L'1   fl                  [7.4-10.5]
Neutro Auto           56.5'1    %                   [45.0-75,0]
Lymph Auto            30.7'1    %                   [15.0-45.0]
Mono Auto            12.3  H' 1 %                   [2.0-10,0]
Eos,Auto               0.2 •1   %                   [0.0-5.0]
Basophil Auto          0.3 •1   %                   [0.0-3.0]
Neutro Absolute        6.0 •1   x10A3/mcL           [1.5-7.5]
Lymph Absolute         3.3 •1   x10A3/mcl           [0.4-3,3]
Mono Absolute         1.3 H'1   x10A3/mcl           [0.1-1.1]
Slide Review          Auto'1
Performing Locations
*1:     This test was performed at:
        DH M Laboratory, 1600 West Antelope Drive, Layton, UT, 84041-              , US



 ReportlD: 251977153                                        Page 10 of 14                Print Date/Time:   11/12/202113:36 CST
          Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.191 Page 12 of 15
Patient Name:       ABREU, ANGEL
MRN:                1202347827                                         Admit Date:       9/26/2020
Encounter:          DHM-18000351106                                    Discharge Date:   9/26/2020


'------------------C_h_e_s_tX_-R_a...;y_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _]
ACCESSION                 EXAM DATE/TIME          PROCEDURE               ORDERING PROVIDER STATUS
12-XR-XX-XXXXXXX          9/26/2020 20:07 MDT     XR Chest 1 View Frontal Grow,MD,Robert W  Auth (Verified)

Reason For Exam
(XR Chest 1 View Frontal) Chest trauma

Report
INDICATION: Chest trauma.

EXAMINATION: Chest radiograph, portable frontal view.

COMPARISON: No relevant comparison.

VIEWS: Single frontal view of the chest.


FINDINGS:

Devices: None

Cardiomediastinal silhouette: Unremarkable.

Lungs: Unremarkable.

Pleural space:Unremarkable.

Bones and soft tissues: Normal for age.

Additional findings: None.


IMPRESSION:

No radiographic evidence for acute thoracic disease.
***** Final *****

Dictated by: Walker, DO, Kyle R
Dictated OT/TM: 09/26/2020 8: 11 pm
Signed by: Walker, DO, Kyle R
Signed (Electronic Signature): 09/26/2020 8:11 pm


                                                Computed Tomography
Accession                 Exam Date/Time          Exam                  Ordering Physician           Patient Age at Exam
12-CT-XX-XXXXXXX          9/26/2020 20:13 MDT     CT Abdomen and Pelvis Grow,MD,Robert W             24 years
                                                  w/ Contrast

Reason for Exam
(CT Abdomen and Pelvis w/ Contrast) Abdominal pain


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           Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.192 Page 13 of 15
 Patient Name:     ABREU, ANGEL
 MRN:              1202347827                                          Admit Date:        9/26/2020
 Encounter:        DHM-18000351106                                     Discharge Date:    9/26/2020

                                                   Computed Tomography

Accession                   Exam Date/Time          Exam                  Ordering Physician          Patient Age at Exam
12-CT-XX-XXXXXXX            9/26/2020 20: 13 MDT    CT Abdomen and Pelvis Grow,MD,Robert W            24 years
                                                    w/ Contrast

  Report
· INDICATION: Self-inflicted abdominal wound.

 EXAMINATION: CT Abdomen and Pelvis with Contrast

 COMPARISON: Chest radiograph, 9/26/2020.

 CONTRAST/MEDICATIONS:
 IV: 100 ml of Omnipaque 350
 Oral: None
 (Contrast/medications administered according to protocol are authenticated)

 TECHNIQUE: CT through the abdomen and pelvis was performed with contrast. Axial, coronal, and sagittal reconstructions
 performed.


 Dose lowering technique(s) such as automated exposure control, iterative reconstruction, and mA and/or KV adjustment for
 patient's size was utilized for this exam.


 FINDINGS:

 Lower chest: Unremarkable.

 Liver, biliary system, and pancreas: No focal liver lesion. Gallbladder and pancreas unremarkable.

 Spleen: Normal.

 Adrenal glands: Normal.

 Kidneys, ureters, and urinary bladder: Normal kidneys, ureters, and bladder.

 Lymph nodes: No lymphadenopathy.

 Bowel and appendix: Stomach is nondistended. Duodenum and small bowel are nondilated. Terminal ileum appears normal.
 Normal appendix. No focal bowel wall thickening. Ring-shaped metallic density within the lumen of the sigmoid colon in
 addition to radiopaque tubing extending down towards the anus.                                     ·

 Reproductive organs: Normal appearance of the prostate gland.

 Free fluid: No free intraperitoneal fluid.

 Vasculature: Abdominal and pelvic vascular structures are unremarkable.

 Osseous structures: No acute osseous abnormality.



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          Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.193 Page 14 of 15
Patient Name:       ABREU, ANGEL
MRN:                1202347827                                            Admit Date:        9/26/2020
Encounter:          DHM-18000351106                                       Discharge Date:    9/26/2020

                                                  Computed Tomography

Accession                 Exam Date/Time             Exam                  Ordering Physician             Patient Age at Exam
12-CT-XX-XXXXXXX          9/26/2020 20: 13 MDT       CT Abdomen and Pelvis Grow,MD,Robert W               24 years
                                                     w/ Contrast

Report
Additional findings: Skin staples in the long left ventral abdominal wall likely for closure of a laceration. No evidence for
extension into the peritoneal cavity.

IMPRESSION:
1. Skin and subcutaneous laceration in the left lower in the supra umbilical fat of the left abdominal quadrant. No evidence for
extension into the peritoneal cavity.
2. No evidence for an acute abdominal or pelvic organ injury.
3. Ring shaped metallic foreign body in the rectum with additional radiopaque tubing extending proximally towards the anus
consistent with a retained rectal foreign body.


Findings discussed by telephone with Dr. Baker at 2036 hours on 9/26/2020.
***** Final *****

Dictated by: Walker, DO, Kyle R
Dictated DT/TM: 09/26/2020 8: 17 pm
Signed by: Walker, DO, Kyle R
Signed (Electronic Signature): 09/26/2020 8:26 pm




Accession                  Exam Date/Time            Exam                    Ordering Physician            Patient Age at Exam
12-XR-XX-XXXXXXX           9/26/2020 20:07 MDT       XR Chest 1 View Frontal Grow,MD,Robert W              24 years

Reason for Exam
(XR Chest 1 View Frontal) Chest trauma

Report
INDICATION: Chest trauma.

EXAMINATION: Chest radiograph, portable frontal view.

COMPARISON: No relevant comparison.

VIEWS: Single frontal view of the chest.


FINDINGS:

Devices: None

Cardiomediastinal silhouette: Unremarkable.

 Lungs: Unremarkable.


 ReportlD: 251977153                                     Page 13 of 14             Print Date/Time:    11/12/202113:36 CST
          Case 1:21-cv-00129-RJS Document 10-8 Filed 12/28/21 PageID.194 Page 15 of 15
Patient Name:       ABREU, ANGEL
MRN:                1202347827                                         Admit Date:       9/26/2020
Encounter:          DHM-18000351106                                    Discharge Date:   9/26/2020

                                                l;}Jagnostic Radiology

Accession                 Exam Date/Time          Exam                    Ordering Physician         Patient Age at Exam
12-XR-XX-XXXXXXX          9/26/2020 20:07 MDT     XR Chest 1 View Frontal Grow,MD,Robert W           24 years

Report

Pleural space:Unremarkable.

Bones and soft tissues: Normal for age.

Additional findings: None.


IMPRESSION:

No radiographic evidence for acute thoracic disease.
***** Final *****

Dictated by: Walker, DO, Kyle R
Dictated DT/TM: 09/26/2020 8: 11 pm
Signed by: Walker, DO, Kyle R
Signed (Electronic Signature): 09/26/2020 8:11 pm




ReportlD: 251977153                                    Page 14 of 14          Print Date/Time:   11/12/202113:36 CST
